    Case: 1:18-cv-07340 Document #: 49 Filed: 06/13/19 Page 1 of 2 PageID #:1746



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

OTTER PRODUCTS, LLC and TREEFROG
DEVELOPMENTS, INC.,                                    Case No. 18-cv-07340

                        Plaintiffs,                    Judge John J. Tharp, Jr.

       v.                                              Magistrate Judge Michael T. Mason

BIKE-PROS, et al.,

                        Defendants.


                     NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiffs Otter

Products, LLC (“OtterBox”) and Treefrog Developments, Inc. (“Treefrog”) (together,

“Plaintiffs”) hereby dismiss this action with prejudice against the following Defendants:

              Defendant Name                                         Line No.
                 icflowershop                                           10
                 markseller01                                           17
                 prettymini16                                           20
                    chineon                                             37
                    Fairlady                                            44
                  FY Trading                                            48
                     Holaa                                              51
                    kingslee                                            55
                     li5858                                             57
  Shenzhen Fashionorg Technology Co. Ltd                                65
               shenzhenzilong                                           69
  Tiantianlegou (Shenzhen) Technology And
                                                                        75
             Development Co. Ltd
                 Vogue home                                             76
   Case: 1:18-cv-07340 Document #: 49 Filed: 06/13/19 Page 2 of 2 PageID #:1747



Dated this 13th day of June 2019.    Respectfully submitted,

                                     /s/ Amy C. Ziegler
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                                     Treefrog Developments, Inc.




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